EXHIBIT D
                                     April 17, 2020

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              Re:             Home Health Care Agencies
                              and
                              Local 1199SEIU United Healthcare Workers
                              (Class Action Grievance)

              Dear Counsel:

                              Enclosed please find my Award in the above referenced matters.

                              Thank you.




              Enclosure

              MFS/sk
              doe.uft.01-19-0002-9543.Andolina.Hyman.trans




322 Main Street ◆ Port Washington, NY 11050 ◆ 516.944.1700 ◆ fax: 516.944.1771 ◆ www.ScheinmanNeutrals.com




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---------------------------------------X
In the Matter of the Arbitration
                                       X
            between
                                       X
HOME HEALTH CARE AGENCIES,                   Re: Class Action
                                       X         Grievance
                    “Employers”
                                       X
            -and-
                                       X

LOCAL 1199 SEIU UNITED HEALTHCARE      X
WORKERS,
                                       X
                    “Union”
---------------------------------------X

APPEARANCES

    For the Employers
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      (for New Partners, Inc. d/b/a Partners in Care)

    FORD HARRISON L.L.P.
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  Attendant Services, Sydney Independent Living
  Services, Home Care Services for Independent
  Living, New York Foundation for Senior Citizens
  Home Attendant Services, Cooperative Home


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      (for individuals and proposed classes represented by
      the firm in pending and potential home care
      litigation)




Before: Martin F. Scheinman, Esq., Arbitrator




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                           BACKGROUND

     On January 2, 2019, the Union filed a class action

grievance on behalf of its home care bargaining unit members

employed by approximately forty – eight (48) agencies

(“Employers”) with whom the Union has Collective Bargaining

Agreements. Therein, the Union claimed employees were not

properly paid on 24-hour cases and also asserted other

outstanding wage and hour claims arising under the Fair Labor

Standards Act, New York Home Care Worker Wage Parity Law, and or

the New York Labor Law (“covered statutes”).

     Thereafter, the Union and virtually all of the Employers,

participated in mediation before me in an effort to settle

issues underlying their dispute. Some attorneys representing

employees on individual claims as Plaintiffs in pending court

cases also participated. The mediation concluded without

settlement. The parties then proceeded to binding arbitration.

     On December 24, 2019, by email, I gave the parties leave to

submit briefs addressing three (3) preliminary issues to be

argued orally on the first day of hearing, namely,

1.   Are the claims encompassed by the wage and hour related
     grievances involving current and former 1199 bargaining
     unit members, including those arising under federal, state
     and local law, arbitrable?

2.   Does the Arbitrator have jurisdiction to adjudicate the
     claims asserted in the wage and hour grievances, arising
     under federal, state and local law, filed by the parties
     to the Collective Bargaining Agreement (“Agreement”)


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     which encompass all claims arising under the federal,
     state and local laws named in the Agreement, as well as
     any pending litigation or administrative actions on the
     identical claims, irrespective of whether employees’
     employment terminated prior to the effective date of the
     Memorandum of Agreement providing Alternative Dispute
     Resolution language for exclusive mediation/arbitration
     procedures for wage and hour disputes pursuant to the
     Agreement between the parties?

3.   What is the role, if any, of counsel for the individual
     Plaintiffs, collective or putative class in this
     proceeding?

     Thereafter, the parties submitted pre – arbitration briefs.

     A hearing was held on January 15, 2020, at the Offices of

Schulte, Roth and Zabel in New York City. At that time, all

parties were afforded full opportunity to introduce evidence and

argument in support of their respective positions. They did so.

A stenographic transcript of the hearing was taken. Following

the hearing, the parties were given leave to amend their

submissions and file responses to the briefs of other parties.

Thereafter, an amended brief dated January 21, 2020, was filed

by Wittels Law P.C. A responding brief dated January 31, 2020,

was filed by Epstein Becker & Green in response to the Wittels

Law P.C. amended brief.   A responding brief dated February 6,

2020, was filed by the Union, addressing Wittels Law P.C.’s

request for designation as Lead Private Class Counsel in this

proceeding. Upon my receipt of same, I declared the record

closed.




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     On February 24, 2020, I re-opened the record at the request

of both sides to submit copies of the decision of the United

States Court of Appeals for the Second Circuit in Aguranova v.

The Stella Orton Home Care Agency, Inc. (Summary Order, Case No.

19-78, February 24, 2020), and the decision of the Appellate

Division, First Department in Hichez v.United Jewish Council of

the East Side, Home Attendant Corp. (January 23, 2020). Upon my

receipt of same, I again declared the record closed.

DISCUSSION AND FINDINGS

The Issues:

     The following preliminary issues are presented for my

determination:

1.   Are the claims encompassed by the wage and hour related
     grievances involving current and former 1199 bargaining
     unit members, including those arising under federal, state
     and local law, arbitrable?

2.   Does the Arbitrator have jurisdiction to adjudicate the
     claims asserted in the wage and hour grievances, arising
     under federal, state and local law, filed by the parties
     to the Collective Bargaining Agreement (“Agreement”)
     which encompass all claims arising under the federal,
     state and local laws named in the Agreement, as well as
     any pending litigation or administrative actions on the
     identical claims, irrespective of whether employees’
     employment terminated prior to the effective date of the
     Memorandum of Agreement providing Alternative Dispute
     Resolution language for exclusive mediation/arbitration
     procedures for wage and hour disputes pursuant to the
     Agreement between the parties?

3.   What is the role, if any, of counsel for the individual
     Plaintiffs, collective or putative class in this
     proceeding?



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Relevant Contract Language

                             2012 CBA

                    *   *    *   *    *   *   *

                          ARTICLE XXVI
              GRIEVANCE AND ARBITRATION PROCEDURE

     1. A grievance is defined as any dispute between the Union
(on its behalf and/or on behalf of any Employee) with the
Employer involving the proper application, interpretation or
compliance with the specific written provisions of the Agreement
based on facts and circumstances occurring during the term of
this Agreement. A grievance is subject to arbitration.

     2. Grievances will be resolved in accordance with the
following procedure.

                    *   *    *   *    *   *   *

    Step 4. If the grievance is not resolved at Step 3, the
            Union and/or Employer may within ten (10) days
            thereafter request that the matter be submitted for
            final and binding arbitration under the Labor
            Arbitration Rules of the American Arbitration
            Association.

                    *   *    *   *    *   *   *

     5. The opinion and award of the arbitrator must be made in
writing and is final and binding upon all parties. The
arbitrator has full authority to decide the issue or issues in
dispute, except that s/he does not have authority to amend,
alter, modify, add to, or subtract from the provisions of this
Agreement.

                    *   *    *   *    *   *   *

                  2014 MEMORANDUM OF AGREEMENT

                    *   *    *   *    *   *   *

The Parties agree that given changes in federal and state law
imposing new obligations on the Employer and exposing Employers
to significantly increased level of litigation, it is in the
interest of the Union, Employees, and the Employer to develop an


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expeditious and effective alternative dispute resolution
procedure for the resolution of claims arising under such laws.
Accordingly, between the execution of this Agreement and
December 1, 2014, or as otherwise agreed by the parties, the
parties shall meet in good faith to negotiate such an
alternative dispute resolution procedure. If the parties are
unable to agree to such a procedure in the allotted time, the
Employer may submit the dispute to Martin F. Scheinman for final
and binding arbitration.

                    *   *   *   *    *   *   *

                  2015 MEMORANDUM OF AGREEMENT

     WHEREAS, ___________________ (the “Employer”) and 1199SEIU
Healthcare Workers East (the “Union”) are party to a collective
bargaining agreement dated _______________ as amended by a
Memorandum of Agreement dated ______________, 2014(the “MOA”
collectively, the “CBA”); and

     WHEREAS, it is the intent of the parties to further modify
and extend the CBA, in accordance with the terms of this
Memorandum of Agreement (“this Agreement”);

    NOW THEREFORE, IT IS HEREBY AGREED AS FOLLOWS:

     Except as otherwise expressly modified or amended in this
Agreement, which is effective January 1, 2016, the CBA will
remain in full force and effect through March 31, 2017.

                    *   *   *   *    *   *   *

New Article    in the CBA, “ALTERNATIVE DISPUTE RESOLUTION”, is
hereby created, to read in full as follows: [Adopted effective
December 1, 2015]

     1. The parties agree a goal of this Agreement is to ensure
compliance with all federal, state and local wage hour law and
wage parity statutes. Accordingly, to ensure the uniform
administration and interpretation of this Agreement in
connection with federal, state and local wage-hour and wage
parity statutes, all claims brought by either the Union or
Employees, asserting violations of or arising under the Fair
Labor Standards Act (“FLSA”), New York Home Care Worker Wage
Parity Law, or New York Labor Law (collectively, the “Covered
Statutes”), in any manner, shall be subject exclusively, to the
grievance and arbitration procedures described in this Article.


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The statute of limitations to file a grievance concerning the
Covered Statutes shall be consistent with the applicable
statutory statute of limitations. All such claims if not
resolved in the grievance procedure, including class grievances
filed by the Union, or mediation as described below shall be
submitted to final and binding arbitration before Martin F.
Scheinman, Esq. The arbitrator shall apply appropriate law and
shall award all statutory remedies and penalties, including
attorneys’ fees, consistent with the FLSA and New York Labor Law
in rendering decisions regarding disputes arising under this
Article.

     2. Whenever the parties are unable to resolve a grievance
alleging a violation of any of the Covered Statutes, before the
matter is submitted to arbitration, the dispute shall be
submitted to mandatory mediation. The parties hereby designate
Martin F. Scheinman, Esq., as Mediator for such disputes. Such
mediation shall be requested no more than thirty (30) calendar
days following exhaustion of the grievance procedure. Following
submission of the dispute to mediation, the parties with the
assistance of the Mediator shall establish such procedures as
shall expeditiously advance the mediation process, including the
scheduling of the exchange of relevant information, submission
of position statements, and dates for mediation. In the absence
of an agreement, the Mediator shall determine such procedures.
Once the matter has been submitted to mediation, the Employer
shall be obligated to produce relevant documents as requested by
the Union and any objections to production shall be ruled on by
the Mediator. The fees of the Mediator shall be shared equally
by the Union and the Employer.

     3. No party may proceed to arbitration prior to completion
of the mediation process as determined by the Mediator. In the
event the Union seeks arbitration of a grievance subject to
these procedures, the Union shall submit its demand for
arbitration to the Employer and the Arbitrator within four (4)
months following the Mediator’s declaration that mediation has
concluded. The Employer shall be obligated to produce relevant
documents as requested by the Union and any objections to
production shall be ruled on by the Arbitrator. Prior to
hearing, if noticed, the Union shall also be entitled to
depositions of relevant witnesses. The fees of the arbitrator
shall be shared equally by the Union and the Employer. The
Employer shall upon notice be entitled to take the deposition of
any Employee seeking relief in such arbitration or any other
relevant witness.



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     4. In the event an Employee has requested, in writing, that
the Union process a grievance alleging a violation of the
Covered Statutes and the Union declines to process a grievance
regarding alleged violations of the Covered Statutes, through
the grievance/mediation process or to arbitration following the
conclusion of mediation, an Employee solely on behalf of
herself, may submit her individual claim to mediation, or
following the conclusion of mediation, to arbitration. Written
notice of the Employee’s submission of the dispute to mediation
and/or arbitration must be provided to the Employer, the Union,
and the Mediator/Arbitrator within thirty (30) calendar days of
written notice from the Union, as measured by postmark date,
email date, facsimile date, or delivery/attempted delivery date
(if such notice is served by overnight delivery service), that
it has declined to process the dispute to mediation and/or
arbitration. Such claims may be presented by and on behalf of
the individual Employee only, with or without counsel. The
Mediator/Arbitrator shall have no authority to consider class or
collective claims or issue any remedy on a class basis. The fees
and expenses of the Mediator/Arbitrator shall be shared equally
by the employee and the Employer, unless the arbitrator finds a
violation of any of the Covered Statutes, in which case the
Employer shall pay the fees and expenses of the Arbitrator.1

[bracket supplied]
                     *   *   *   *    *   *   *

Relevant American Arbitration Association Labor Arbitration
Rules (2013)

                     *   *   *   *    *   *   *

3.   Jurisdiction

     (a)   The arbitrator shall have the power to rule on his
           or her own jurisdiction, including any objections with
           respect to the existence, scope or validity of the
           arbitration agreement.

                     *   *   *   *    *   *   *




1 All of the Employers have Collective Bargaining Agreements or
Memoranda of Agreement or had a “me-too provision” which was
virtually identical to this provision.


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Positions of the Parties

    As a preliminary matter, the Union argues the arbitrator is

authorized to determine arbitrability of the underlying

grievance. It contends language in the Agreement grants the

arbitrator authority over issues concerning interpretation or

application of the contract terms, which include arbitrability

and scope of any claim submitted for his or her determination.

    The Union alleges the Agreement also provides for

arbitration to be governed by the Labor Arbitration Rules of the

American Arbitration Association (“AAA”). It asserts AAA Rule

3(a) explicitly gives the arbitrator power to determine his or

her own jurisdiction, including any objections with respect to

the existence, scope or validity of the arbitration agreement.

In the Union’s view, the parties’ incorporation of the AAA Rules

delegates to the arbitrator full authority to determine the

arbitrability and scope of any claim presented.

    The Union argues its grievance is arbitrable. It contends

federal policy favors arbitration and presumes a dispute is

arbitrable where the contract contains an agreement to arbitrate

under a broad arbitration clause. The Union alleges the parties’

wage and hour Alternative Dispute Resolution Provision (“the ADR

Provision”), effective December 1, 2015, is a broad arbitration

clause. By its terms, the ADR Provision applies to all federal,

state and wage and hour parity statutes and expressly provides


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“all claims brought by either the Union or Employees, in any

manner, shall be subject exclusively, to the grievance and

arbitration procedures described in this Article”. Therefore, it

insists all of the wage and hour claims underlying its grievance

are subject to arbitration, pursuant to the ADR Provision.

    The Union cites precedents from the United States Supreme

Court and the United States Court of Appeals for the Second

Circuit, in support of its contention such wage and hour claims

are subject to resolution through collectively bargained

mandatory arbitration agreements. It also submits my October 25,

2016, Award in Chinese – American Planning Council Home

Attendant Program, Inc. and 1199SEIU United Healthcare Workers

East, as further support for its position. The Union emphasizes

in that case, I found the same ADR Provision invoked herein to

be clear, unambiguous, and applicable to the wage and hour

claims presented, including claims which arose prior to the

parties’ adoption of the ADR Provision. It argues that reasoning

is sound and should be applied with equal force to the claims

encompassed by its class grievance.

    As to the second issue, the Union contends an arbitrator

has jurisdiction over all claims asserted in the wage and hour

grievances, irrespective of whether the employees’ employment

ended prior to the effective date of the ADR Provision. It

maintains the ADR Provision was adopted without temporal


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limitation, and therefore applies to all claims, including those

which accrued prior to the Provision’s effective date. It

insists as their federally certified exclusive bargaining agent,

the Union is empowered to pursue claims for all employees,

regardless of whether their employment has terminated or whether

Employers have consented to the Union’s pursuit of these claims.

In the Union’s view, the arbitrability of claims arising during

an employee’s employment does not turn on whether the Union

currently represents the employee. Instead, it insists the

claims of former employees, regardless of when their employment

ended, are arbitrable so long as the arbitration clause is broad

and does not exclude former employees from its coverage.

    The Union acknowledges a handful of individual Plaintiffs

has raised the question whether wage and hour claims of

employees whose employment ended before adoption of the ADR

Provision are subject to arbitration. It suggests they did so in

an effort to carve out a subset class of employees and enable

them to press their claims apart from the Union’s class

grievance. The Union maintains that effort is based upon an

artificial, illusory distinction because employees in the home

care industry commonly leave one (1) agency’s employ only to

work for a different agency that, in all likelihood, is also

party to the ADR Provision.




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     The Union agrees a limited number of state courts have

ruled employees who left employment prior to the effective date

of the ADR Provision are not bound by it and cannot be compelled

to arbitrate their claims. However, it insists those decisions

are not persuasive because federal labor law standards were not

applied and contractual delegations of authority to the

arbitrator to determine arbitrability were not followed. The

Union emphasizes it was not party to any of those state court

cases and is not bound by their results or precluded from

pursuing the claims of all employees under its statutory and

contractual authority as their federally – certified bargaining

representative. It asserts those state court decisions were

issued by lower court judges in two (2) actions involving a

total of only four (4) employees and involved temporary or

preliminary orders and not final judgments.2 The Union notes its

grievance is pending on behalf of the more than one hundred

thousand (100,000) employees in the home care industry in New

York City and surrounding counties whose Employers are party to


2 The Union identifies four (4) employees named as Plaintiffs in
the two (2) state court proceedings: Alvaro Ramirez Guzman,
Elida Agustina Mejia Herrera and Leticia Panama Rivas are the
three (3) Plaintiffs in Guzman et al v. The First Chinese
Presbyterian Community Affairs Home Attendant Corporation, etc.
(N.Y. Co., Index No. 157401, Freed, J.S.C.). Boris Pustilnik is
the sole Plaintiff in Pustilnik v. Premier Home Health Care
Services, Inc. (N.Y. Co., Index No. 155081/2016, Cohen, J.S.C.
(Transcript at page 48).



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the ADR Provision. It contends those state court orders do not

preclude the Union from pursuing its grievance and do not

preclude me from ruling on his jurisdiction.3

     In further support of the arbitrator’s jurisdiction over

its grievance, the Union argues having all employees’ claims

decided in this arbitration will benefit the employees and the

home care industry by avoiding fragmented decisions from

different tribunals. It alleges undesirable consequences may

occur if individual employers are forced into bankruptcy or

closure by inconsistent rulings. The Union contends the ADR

Provision provides an expeditious forum for the fair resolution

of claims and compares favorably to the state and federal

judicial processes, where some employees filed claims as early

as 2016 and 2017 and are still in the preliminary stages of

litigation without a class being certified by any court.

     The Union emphasizes its grievance was brought to protect

its members’ rights under the wage and hour laws and to preserve

minimum wage and wage parity law gains which were won by the

Union’s hard-fought efforts. In the Union’s view, fragmentation

of claims resolution will destabilize the home care sector and


3 The Union accepts counsel for the Employers in the two (2)
state court cases where temporary or preliminary restraining
orders issued are in an awkward position, herein. It has,
therefore, agreed any decision concerning the four (4) employees
who are Plaintiffs in those cases should be reserved to a later
date.


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impair the ability of current and former employees to recover

upon wage and hour claims found to be meritorious.

    The Union opposes participation in the arbitration by non –

party counsel. It argues arbitration is a private matter. In the

Union’s view, an arbitrator should not permit outside counsel to

represent an individual bargaining unit member in a grievance

proceeding brought by the Union, absent contractual authority or

the Union’s consent. It alleges neither the contract nor the AAA

Rules permit the arbitrator to allow outside counsel to

represent an individual employee in this proceeding. Instead,

the Union insists it retains sole authority, as exclusive

bargaining representative of covered employees, to pursue this

arbitration on behalf of all current and former members of the

bargaining unit.

    Since the Union has not consented, it maintains I should

not allow representation of individual employees in this

proceeding by outside counsel.

    Nevertheless, and without prejudice to the foregoing

position, the Union advises it will consent to my appointment of

a Plaintiffs’ “Coordinating Counsel” to facilitate resolution of

this dispute. However, its consent is offered on condition the

Coordinating Counsel a) will not be co-counsel with the Union,

b) will consult with the Union at such times and on such issues

as the Union deems appropriate, c) will be the Union’s primary


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contact for communication with private Plaintiffs’ counsel, d)

will be allowed to attend in – person proceedings conducted

before the arbitrator, (e) will have a limited right to make

presentation(s) at in – person proceedings conducted before the

arbitrator as may be consented to by the Union, (f) will have no

independent right to examine particular witnesses or introduce

evidence, but may ask the Union to consider Coordinating

Counsel’s request(s) to do so, (g) shall have no formal

authority to initiate, coordinate or conduct pre – hearing

discovery or any right to negotiate stipulations, settlements or

other matters with either the Union or the Employers and, (h)

shall have the right to make written submissions on behalf of

individual Plaintiffs they actually represent.4

     In short, the Union insists 1) its grievance is arbitrable,

2) I have jurisdiction over all claims asserted in the wage and

hour grievances, irrespective of whether the employees’

employment ended prior to the effective date of the ADR

Provision and 3) representation of individual employees by

outside counsel in this arbitration proceeding is not

authorized, but the Union would consent to my appointment of a

Plaintiffs’ Coordinating Counsel upon the conditions set forth

above.


4 February 6, 2020, submission by Union’s counsel, Laureve D.
Blackstone.


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     The Employers, on the other hand, do not dispute the

Union’s grievance is arbitrable. Of the eleven (11) law firms

appearing in this proceeding on behalf of various Employers,

seven (7) have conceded arbitrability on behalf of their

clients.5 These Employers’ positions on arbitrability align with

the Union’s contentions. They acknowledge the parties have,

through their Collective Bargaining Agreements, authorized an

arbitrator to determine all disputes involving interpretation or

application of the Agreement, which perforce includes the

arbitrability and scope of the grievance.

     These Employers also agree the underlying Agreement

expressly incorporates the AAA Rules, which in their view

provides additional evidence of the parties’ delegation to an

arbitrator the authority to determine his or her own

jurisdiction and questions of arbitrability. They contend the

entire underlying Agreement must be considered, including the

2012 Collective Bargaining Agreement (which authorizes the

arbitrator to decide all issues involving application or

interpretation of the contract and expressly incorporates the

AAA Rules), the 2014 Memorandum of Agreement (by which they


5 The seven (7) Employers’ law firms conceding arbitrability of
the Union’s grievance are: Epstein Becker & Green, Ford
Harrison, Hogan Lovells U.S., Littler Mendelson, Locke Lord,
Peckar & Abramson and Schulte Roth & Zabel (joining in the
submissions of Hogan Lovels and Ford Harrison).



                               21
agreed to meet and negotiate an ADR Provision for federal and

state law wage and hour claims), and the 2015 Memorandum of

Agreement (which establishes their agreed – upon ADR Provision

for resolution of statutory wage and hour claims exclusively

through arbitration). Said Employers insist when properly read

as a whole, rather than in isolation, these contractual

provisions constitute a waiver of the judicial forum and empower

the arbitrator to determine the gateway issue of arbitrability

of the Union’s grievance.

     These Employers agree the Collective Bargaining Agreements

contain a broad arbitration clause encompassing the subject

matter of the Union’s grievance and constitute a valid agreement

to arbitrate the disputes covered by the grievance. They do not

dispute under applicable case law, the statutory wage and hour

claims covered by the grievance are subject to resolution

through the arbitration provisions of the Agreement.

     The remaining four (4) law firms appearing for various

Employers have taken no position or are neutral on the question

of arbitrability.6




6 The four (4) Employers’ law firms taking no position or
remaining neutral on the question of arbitrability are: Bond
Schoeneck & King, Jackson Lewis, Milman Labuda and Putney
Twombly.



                               22
     The two (2) law firms appearing for individual Plaintiffs

have also conceded the claims of their clients are arbitrable.

However, the firm appearing for Mercedes Pena, Borelli &

Associates, while agreeing her individual claims are arbitrable,

has asked to have Pena’s claims arbitrated apart from the

Union’s grievance, and to allow her to be represented by the

firm in the arbitration.7

     Pena asserts a right under the law to opt out of the

Union’s class grievance and to pursue her individual claims in

arbitration with representation by counsel of her choice. She

alleges her wage and hour claims seek to vindicate substantive

rights granted by statutes. Pena maintains those rights are

independent of any rights created by the Agreement. She contends

the Union lacks a contractual basis for pursuing her claims as

part of a class grievance because, in her view, the Collective

Bargaining Agreement grants no clear or affirmative authority to

the Union to conduct a class – wide arbitration.

     In the alternative, Pena contends even if the contract is

found to authorize class grievance arbitration, she has a right

to opt out of the class grievance and to pursue her own

arbitration before me with her chosen representative. She urges




7 According to Pena, her claims were originally filed in federal
court and were later dismissed voluntarily by her in order to
pursue them through arbitration.


                               23
the holding in Hecht v. United Collection Bureau, 691 F.3d 218,

224 (2d Cir., 2012), requires absent class members be given

notice, opportunity to be heard, and opt out rights. For these

reasons, Pena asks I allow her to opt out of the Union’s class

grievance and to pursue arbitration of her individual claims

before me, with representation by her chosen counsel.

     The law firm appearing for individuals and proposed classes

represented by the firm in pending and potential home care

litigation, Wittels Law P.C., concedes the claims of its current

and potential clients are arbitrable. However, it argues any

resulting arbitration Award will not be binding upon absent

class members unless the Union’s class grievance arbitration is

fundamentally fair, protects absent members’ due process rights,

affords fair and adequate mechanisms for determination of their

claims on an individual basis, allows pre-trial exploration of

all claims, and affords adequate and zealous representation by

class representatives and counsel.8 Wittels Law P.C. argues for

its appointment as lead private Plaintiffs counsel in this

proceeding. It contends such role will benefit the process by

assuring adequate protection of the class.




8 Epstein Becker & Green claims Wittels Law P.C.’s arguments
about the elements of what are required in an eventual Award on
the merits are outside the scope of the arbitrability issue
pending before me.



                               24
     As to the second issue, the Employers do not dispute I have

jurisdiction over all claims asserted in the wage and hour

grievance, irrespective of whether the employees’ employment

ended prior to the effective date of the ADR Provision. Of the

eleven (11) Employers’ law firms appearing in this proceeding,

seven (7) have answered this issue in the affirmative, conceding

my jurisdiction over all claims asserted in the grievance no

matter if the employee’s employment ended before or after the

effective date of the ADR Provision.9 In general, they cite the

parties’ broad agreement to resolve all claims under the covered

statutes through arbitration, without any temporal limitation on

when the claims accrued, and without regard to whether the

claims are currently pending in litigation or administrative

actions.10




9 The seven (7) Employers’ law firms are: Epstein Becker & Green,
Ford Harrison, Hogan Lovells U.S., Littler Mendelson, Locke
Lord, Peckar & Abramson and Schulte Roth & Zabel (joining in the
submissions by Hogan Lovels and Ford Harrison).

10Locke Lord points out its client, Special Touch Home Care
Services, Inc., has a separate Collective Bargaining Agreement
with the Union, effective January 1, 2016 (amended by side
letter dated June 23, 2016, with its own ADR process). It
concedes under its Agreement, the claims presented by the
Union’s grievance are within my jurisdiction irrespective of
whether a worker’s employment ended before the effective date of
its ADR protocol.



                               25
     The remaining four (4) Employers’ law firms have taken no

position or are neutral on how the second issue presented for my

determination should be decided.11

     The two (2) law firms appearing for individual Plaintiffs

do not take a direct position on the second issue.

     Borelli & Associates does not address whether I have

jurisdiction over all claims irrespective of whether the

employment of Pena terminated before the effective date of the

ADR Provision. Instead, it argues, on behalf of Pena, the

parties did not clearly and unambiguously authorize resolution

of a class grievance at arbitration. Pena alleges paragraphs 1

and 4 of the ADR Provision support her position. She contends




11The four (4) Employers’ law firms taking no position or
remaining neutral on the second issue are: Bond Schoeneck &
King, Jackson Lewis, Milman Labuda, and Putney Twombly. Of the
multiple Employers represented by Jackson Lewis, none have
affirmatively argued for or against my jurisdiction over claims
irrespective of whether the employee left employment before the
effective date of the ADR Provision. One (1) of the Employers
(The First Chinese Presbyterian Community Affairs Home Attendant
Corporation) alleges it is defending against a putative wage and
hour class action in state court brought by three (3) former
employees (Guzman, Herrera, Rivas) who stopped working for it
prior to the effective date of the ADR Provision, and is
preliminarily enjoined by the Court from having to appear at the
arbitration hearing held on January 15, 2020. In its submission,
First Chinese discusses the pertinent facts, but takes no
position on how this second issue should be decided. The
remaining Employers represented by Jackson Lewis who filed
briefs agree the second issue is within my authority to
determine, but take no position on how the issue should be
decided.



                                26
paragraph 1 of the ADR Provision is ambiguous as to the

arbitrator’s authority to decide any class wide wage and hour

final and binding arbitration. Pena maintains paragraph 4 is

silent as to the Union’s authority to present a class wide wage

and hour grievance at arbitration. She suggests the more than

135,000 members of the class are absent and their claims are

beyond my contractual authority to determine.

    Wittels Law P.C. also takes no position on how the second

issue should be decided. It claims relevant case law is

unsettled and points to court decisions for and against an

arbitrator’s assertion of jurisdiction over all claims under the

ADR Provision irrespective of whether the employment of the

employees terminated before its effective date. The firm also

cites to a further case where the court ruled whether such

jurisdiction exists is a question for the arbitrator to decide.

    Even if arbitral jurisdiction is found to exist

irrespective of whether an employee’s employment terminated

before adoption of the ADR Provision, Wittels Law P.C. insists

adequate representation of the class is required. It suggests

the interests of the Union are not always aligned with those of

the employees, presenting a clear need for an approach that will

have the Union, the Employers, and counsel for the outside

Plaintiffs working together, and separately, to ensure a fair




                               27
and proper proceeding consistent with principles of due process

and asserted notice and opt out class action requirements.

    As to the third issue of what shall be the role in this

arbitration of the attorneys for individual Plaintiffs, the

Employers’ law firms diverge in their answers to this question.

Some note the only parties to this proceeding are the Union and

the Employers, not the individual Plaintiffs. They argue the

attorneys for individual Plaintiffs are properly considered

counsel for non-parties, lack standing to participate, and

should, therefore, have no role in this arbitration. Others

maintain the filed grievance belongs to the Union as collective

bargaining representative for the universe of employees whose

claims are covered by the grievance. They contend the contract

provides for class – wide claims to be asserted only by the

Union, and therefore it is the Union’s decision whether to

permit any participation by attorneys for individual Plaintiffs.

Still others argue the attorneys for individual Plaintiffs

should have no formal role in this arbitration, or no role at

all, unless invited by the Union with the Employers’ consent.

Some maintain individual Plaintiffs’ attorneys have interests

which diverge from the interests of the employee class

represented as a whole by the Union, because settlement

discussions might be driven by the potential for fee awards to

the Plaintiffs’ attorneys rather than the best interests of the


                               28
class members, all of whom are represented by the Union. They

allege while private counsel might play a role in this

proceeding, such role should complement, not compete, with the

Union, in order to avoid conflicting claims prosecutions in this

arbitration.

    The Employers’ law firms agree no class of Plaintiffs has

yet been certified in any of the wage and hour court cases

presently pending for individually named Plaintiffs.

Nevertheless, some of these firms acknowledge non – Union

attorneys for individual Plaintiffs already participated in the

mediation preceding this arbitration. They urge those attorneys

should be allowed to continue doing so in some fashion during

this arbitration, provided the Union’s role as primary

representative for the employees is preserved and parameters are

instituted to avoid undue delay or duplication, with protective

orders issued as needed for confidentiality and other issues.

These firms argue providing a role for individual Plaintiffs’

attorneys will benefit the parties by avoiding burdensome

litigation those Plaintiffs might otherwise institute.




                               29
     Five (5) of the Employers’ law firms have taken no position

on what role shall be played by individual Plaintiffs’ attorneys

in this arbitration.12

     The two (2) law firms appearing for individual Plaintiffs

argue they should be allowed to participate in this arbitration.

     Borelli & Associates argues Pena has a right to be heard on

her claims through counsel of her choosing. Pena contends any

class – wide Award issued upon the Union’s grievance will not

pass judicial muster unless class members are given notice and

opportunity to opt out and then be represented on their

individual claims through their own counsel. She maintains doing

otherwise would deny due process to absent class members. Pena

alleges determination of individual claims on a class – wide

basis will not safeguard members’ rights to know what is

happening to their claims. She, therefore, urges I allow her

chosen attorneys to present her individual claim at arbitration.

     Wittels Law P.C., contends outside counsel should be

allowed to participate. It urges Wittels Law P.C. be appointed

as lead counsel for individual Plaintiffs, to assure adequate

representation of the class. Wittels Law P.C. maintains by

virtue of its expertise prosecuting class actions, it is well




 The five (5) Employers’ law firms taking no position on this
12

issue are: Bond Schoeneck & King, Jackson Lewis, Milman Labuda,
Putney Twombly and Littler Mendelson.


                               30
positioned to vigorously pursue the case and thereby “level the

playing field” of the parties’ respective counsel. Wittels Law

P.C. contends its participation will benefit all parties by

contributing its expertise in notification and other class

action procedures. It argues the Agreement does not constrain my

ability to assure adequate representation of the class by

granting the firm a participatory role. The firm refers to its

resume and asks for consideration of the proposed order filed

with its brief. It notes the proposed order prescribes its role

and responsibilities as potential lead counsel for individual

Plaintiffs, all toward the goal of assisting in the outcome of

this proceeding.



Opinion

    Certain preliminary comments are appropriate.

    As arbitrator, my role is a limited one. It is to interpret

the parties’ Agreement as written. If the parties’ Agreement is

clear on its face, and if from the parties’ chosen words their

intentions are manifest, then I am without power or authority to

deviate from those intentions. In addition, I must interpret the

Agreement to give effect to all provisions, and to avoid

nullifying language adopted by the parties.

    With these principles in mind, I turn to the facts

presented.


                               31
     At this preliminary stage of the arbitration, three (3)

issues are presented for my determination. They are decided

below in sequence.

1.   Are the claims encompassed by the wage and hour related
     grievances involving current and former 1199 bargaining
     unit members, including those arising under federal, state
     and local law, arbitrable?

     Upon my careful consideration of the evidence and arguments

presented, I find the claims encompassed by the wage and hour

related grievances involving current and former 1199 bargaining

unit members, including those arising under federal, state and

local law, are arbitrable.

     Where the Agreement contains a broad arbitration clause,

the presumption of arbitrability attaches. This is a fundamental

principle of arbitral jurisprudence. The ADR Provision adopted

by the parties broadly states, in pertinent part:

                     *   *    *   *    *   *   *

     1. The parties agree a goal of this Agreement is to
     ensure compliance with all federal, state and local
     wage hour law and wage parity statutes. Accordingly,
     to ensure the uniform administration and
     interpretation of this Agreement in connection with
     federal, state and local wage-hour and wage parity
     statutes, all claims brought by either the Union or
     Employees, asserting violations of or arising under
     the Fair Labor Standards Act (“FLSA”), New York Home
     Care Worker Wage Parity Law, or New York Labor Law
     (collectively, the “Covered Statutes”), in any manner,
     shall be subject exclusively, to the grievance and
     arbitration procedures described in this Article.

     (underlining supplied)



                                  32
                    *   *   *   *    *     *   *

I find the foregoing language clear and unmistakable in its

meaning. By their chosen language, the parties agreed to

arbitrate all claims brought by either the Union or employees

for redress of violations of any of the covered statutes. By

providing for arbitration of all such claims, I conclude they

intended arbitration be the exclusive forum for resolution of

these claims, and clearly and unmistakably waived access to the

judicial forum. Since the parties have adopted a broad

arbitration clause, the claims encompassed by the Union’s

grievance are presumptively arbitrable. The presumption has not

been overcome, or even challenged.

    I also agree with the Union’s contention under Article XXVI

of their Agreement, the parties have authorized an arbitrator to

determine all disputes “ … involving the proper application,

interpretation or compliance with the specific written

provisions of the Agreement …”, and have vested him or her with

“… full authority to decide the issue or issues in dispute …”.

(2012 Collective Bargaining Agreement, supra). By their

customary meaning, these broad terms authorize an arbitrator to

decide all issues, which would include not only the merits of

the underlying claims, but also issues presented whether claims

are within an arbitrator’s jurisdiction.




                                33
     The evolution of the parties’ Agreement makes plain they

intended an arbitrator decide whether the claims encompassed by

the Union’s grievance are arbitrable. By incorporating the AAA

Rules into their 2012 Collective Bargaining Agreement, I find

they intended grievances would be resolved by arbitration

conducted in accordance with those Rules. It is undisputed AAA

Rule 3(a) vests the arbitrator with authority to determine the

extent of his or her jurisdiction and the scope of matters to be

arbitrated. (AAA Rule 3(a), supra).13 By any reasonable

interpretation, the parties’ incorporation of this Rule is

further evidence they intended to delegate such authority to the

arbitrator.14

     In their 2014 Memorandum of Agreement, the parties agreed

to meet and negotiate a provision for alternative dispute

resolution of statutory wage and hour claims. Completion of that


13During the January 15, 2020, hearing, Hogan Lovels asserted
the delegation clause incorporating the AAA Rules, including
Rule 3(a)’s delegation of authority to the arbitrator to
determine issues of arbitrability, has been in the parties’
Collective Bargaining Agreement since 2000 or earlier. This fact
was not disputed. (Transcript at pages 62 – 63).

14In Troshin v. Stella Orton Home Care Agency, Inc. (N.Y. Co.,
1/14/20), the Court (Lebovits, J.S.C.) ruled arbitrability is
for the arbitrator, not the court, to determine, under Article
XXVI of the 2012 Collective Bargaining Agreement. The Court
found the Agreement contains a broad arbitration clause and
incorporates AAA Rules delegating authority to the arbitrator
“… to rule on his or her own jurisdiction, including any
objections with respect to the existence, scope, or validity of
the arbitration agreement”.


                                34
task was accomplished in their 2015 Memorandum of Agreement,

wherein they adopted the ADR Provision for resolution of

statutory wage and hour claims. Obviously, the parties did not

intend to erase provisions of their 2012 Collective Bargaining

Agreement calling for arbitration of all grievances to be

conducted pursuant to the AAA Rules. This is not surprising.

Parties commonly build upon prior agreements in their subsequent

contracts and only excise prior accords when they specifically

so indicate. Consistent with this fundamental rule of labor

relations, I find the recitals to their 2015 Memorandum of

Agreement demonstrate they intended to “modify and extend” the

provisions of their Collective Bargaining Agreement, without

stating any intention to eliminate adherence to the AAA Rules

when arbitrating grievance disputes. (2015 Memorandum of

Agreement, supra). Notably, at no time during this proceeding

has any party to the Agreement taken a contrary view. No one has

disputed the continuing application of AAA Rule 3(a) to

arbitration of the Union’s January 2, 2019, grievance. Nor has

any party argued incorporation of AAA Rule 3(a), in the 2012

Collective Bargaining Agreement, was somehow abrogated by the

adoption of the 2015 ADR Provision for wage and hour claims.15


15The 2015 Memorandum of Agreement states, “Except as otherwise
expressly modified or amended in this Agreement, which is
effective January 1, 2016, the CBA will remain in full force and
effect through March 31, 2017”. (2015 Memorandum of Agreement,


                               35
    Thus, I conclude the parties intended all grievance

arbitrations, including the Union’s pending grievance, be

conducted pursuant to the AAA Labor Arbitration Rules, including

Rule 3(a)’s grant of authority to an arbitrator to determine

arbitrability of claims encompassed by the grievance. Frankly,

no other reasonable interpretation exists.

    Significantly, during the entire course of this proceeding,

no party to the Agreement argues the claims encompassed by the

grievance are not arbitrable. In their written brief, and

statements during the hearing, both the Union, and those

Employers addressing the issue, have conceded my authority to

determine arbitrability of the Union’s grievance. They agree the

claims encompassed by the grievance are arbitrable. As well, the

two (2) law firms appearing for named and unnamed individual

Plaintiffs also concede arbitrability of their clients’ claims.

Neutral position statements from other Employers provide no

basis for altering my conclusion these claims are arbitrable and

within my jurisdiction. When the parties to the Agreement concur

the grievance is arbitrable, there is no basis to find

otherwise.



supra). By this provision, I find express language is needed to
remove AAA Rule 3(a) from the Collective Bargaining Agreement.
No such language exists. Therefore, in extending their
Collective Bargaining Agreement, the parties continued their
longstanding incorporation of the AAA Rules, including AAA Rule
3(a).


                               36
     Therefore, for all of the foregoing reasons, I find the

claims encompassed by the wage and hour related grievances

involving current and former 1199 bargaining unit members,

including those arising under federal, state and local law, are

arbitrable.

2.   Does the Arbitrator have jurisdiction to adjudicate the
     claims asserted in the wage and hour grievances, arising
     under federal, state and local law, filed by the parties
     to the Collective Bargaining Agreement (“Agreement”)
     which encompass all claims arising under the federal,
     state and local laws named in the Agreement, as well as
     any pending litigation or administrative actions on the
     identical claims, irrespective of whether employees’
     employment terminated prior to the effective date of the
     Memorandum of Agreement providing Alternative Dispute
     Resolution language for exclusive mediation/arbitration
     procedures for wage and hour disputes pursuant to the
     Agreement between the parties?

     Upon my careful consideration of the evidence and arguments

presented, I conclude my jurisdiction extends to adjudicating

all such claims, irrespective of whether an employee’s

employment terminated prior to the effective date of the

Memorandum of Agreement providing Alternative Dispute Resolution

language for exclusive mediation/arbitration procedures for wage

and hour disputes pursuant to the Agreement between the parties.

By clear and plain language, I am persuaded the ADR Provision

broadly applies to all claims arising under the covered

statutes, without regard to whether the claim accrued before the

Provision was adopted.




                               37
    Nowhere in the ADR Provision is there any temporal

limitation expressed. Had the parties intended to limit their

arbitration remedy to claims accruing after the Provision’s

effective date, they could easily have added language to that

effect. Plainly, the parties did not do so. Instead, I find they

adopted a broad clause providing for arbitration of all claims

arising under the covered statutes, without restriction. By any

reasonable interpretation, the ADR Provision demonstrates the

parties intended all such claims be resolved exclusively through

their agreed – upon arbitration process, regardless of whether

employment ended before the ADR Provision’s effective date.

    In my October 25, 2016, Opinion and Award in Chinese –

American Planning Council Home Attendant Program, Inc. and 1199

SEIU United Healthcare Workers East, I ruled the same ADR

Provision applies retroactively to claims accruing before its

effective date. I did so based upon the parties’ express

language arbitration was to be the exclusive remedy for “all

claims” arising under the covered statutes, and after taking

into account the absence in the contract language of any

temporal limitation upon covered claims. I found persuasive

Judge Forrest’s decision in Chan et al v. Chinese – American

Planning Council Home Attendant Program, Inc., (S.D.N.Y. (Feb.

23, 2016) on the issue of retroactivity, where she compelled




                               38
arbitration of wage claims under the same ADR Provision and

stated:

      Plaintiffs seek to avoid this mandatory
      arbitration clause by arguing that the agreement
      to arbitrate embodied in the 2015 MOA cannot apply
      retroactively to claims that may have accrued
      prior to the execution of the 2015 MOA. This
      argument is meritless. The Second Circuit has
      indicated that, in the absence of a provision
      placing a temporal limitation on arbitrability, an
      arbitration provision may cover claims that
      accrued prior to the execution of the agreement to
      arbitrate. Smith/Enron Cogeneration Ltd. P’ship,
      Inc. v. Smith Cogeneration Int’l, Inc., 198 F.3d
      88, 98-99 (2d Cir. 1999); see also Arrigo v. Blue
      Fish Commodities, Inc., 408 F. App’x 480, 481-82
      (2d Cir. 2011) (summary order); Duraku v. Tishman
      Speyer Properties, Inc., 714 F. Supp. 2d 470, 474
      (S.D.N.Y. 2010).

     My determination jurisdiction extends to all claims

encompassed by the Union’s grievance, irrespective of whether

employment ended before the effective date of the ADR Provision,

is consistent with my prior Award and equally apt in the context

of the Union’s class grievance. More fundamentally, my

determination honors the intent of the contracting parties. They

provided arbitration as their exclusive forum for resolving all

claims arising under the covered statutes, and did so without

limitation as to whether the claims accrued before or after

adoption of their ADR Provision.   16




16In Agarunova v. The Stella Orton Home Care Agency, Inc.
(supra), the Court did not address the delegation argument
pending before me in this proceeding.


                               39
     For all these reasons, I find my jurisdiction extends to

all claims encompassed by the Union’s grievance, irrespective of

whether employment ended before the effective date of the ADR

Provision.

3.   What is the role, if any, of counsel for the individual
     Plaintiffs, collective or putative class in this
     proceeding?

     This proceeding is being conducted pursuant to the parties’

negotiated ADR Provision covering all wage and hour claims. The

Union has filed its grievance as exclusive bargaining agent for

its members, in order to redress their wage and hour claims

through the arbitration process agreed upon with the Employers.

The parties to this proceeding are the Union, as representative

for the universe of claimants, and the Employers. Strictly

speaking, individual employees are not parties to the

arbitration, but are instead, part of the whole represented,

herein, by the Union.

     Nevertheless, counsel for some individual employees who

filed wage and hour claims in state or federal court

participated in the earlier mediation. They were allowed to do

so in an effort to obtain a global settlement of all pending

wage and hour disputes affecting the parties. Frankly, I found

their participation in that process valuable.

     Now, however, we are at the arbitration stage, where the

Union has standing as the exclusive representative for all


                               40
claimants whose claims are subject to arbitration with the

Employers. As such, I recognize the Union’s right to exclusively

represent all employees in this proceeding, including those

whose claims have previously been the subject of complaints

filed by their private counsels in one (1) court or another on

their behalf as Plaintiffs. Allowing those counsel to represent

those Plaintiff employees in this arbitration would undermine

the Union’s standing and ability to represent the whole of its

membership in the prosecution of its grievance. It would also

disrupt the ability of the Employers and Union to navigate this

dispute within the confines of their collective bargaining

relationship. Each would face the prospect of potentially

conflicting strategies and tactics between the Union, as

representative of the whole, and attorneys representing non –

party individuals.

    On balance, I believe in the circumstances of this

particular case, there is a limited, proper role for Plaintiffs’

counsel that can be helpful to the process without invading the

province of the parties. To that end, I will allow limited

participation by individual Plaintiffs’ counsel to the following

extent: I shall appoint a Plaintiffs’ Coordinating Counsel under

the condition that he or she a) will not be co-counsel with the

Union, b) will consult with the Union at such times and on such

issues as the Union deems appropriate, c) will be the Union’s


                               41
primary contact for communication with private Plaintiffs’

counsel, d) will be allowed to attend in–person proceedings

conducted before me, (e) will have a limited right to make

presentation(s) at in – person proceedings, if any, conducted

before me as may be consented to by the Union, subject to

Employers’ objections, (f) will have no independent right to

examine particular witnesses or introduce evidence, but may ask

the Union to consider Coordinating Counsel’s request(s) to do

so, subject to Employers’ objections, (g) shall have no formal

authority to initiate, coordinate or conduct pre – hearing

discovery or any right to negotiate stipulations, settlements or

other matters with either the Union or the Employers and, (h)

shall have the right to make written submissions on behalf of

individual Plaintiffs they actually represent. These roles will

be subject to revision or restriction by me upon application, or

sua sponte.17

     Before concluding, I will address assertions made by the

law firms for individual Plaintiffs during their arguments on

the three (3) identified issues.

     I reject Pena’s contention the Union lacks authority to

arbitrate a class grievance. Paragraph 1 of the ADR Provision,


17 To the extent documents are produced and Plaintiffs’ counsel
want to examine them, if relevant, documents from an individual
Employer shall be made available only to a Plaintiff’s counsel
with a pending matter with that Employer.


                               42
supra, refers explicitly to class grievances being filed by the

Union, in the following language: “All such claims if not

resolved in the grievance procedure, including class grievances

filed by the Union, or mediation as described below shall be

submitted to final and binding arbitration before Martin F.

Scheinman, Esq.”. (underlining supplied). By this passage, I

find the parties clearly intended to authorize the Union to

pursue class grievances encompassing the wage and hour claims of

its bargaining unit members.

    Similarly, Pena’s citation of Paragraph 4 of the ADR

Provision, supra, to support her argument no class grievances

are authorized by the Agreement, is without merit. Paragraph 4

is not applicable, here. That paragraph is triggered where the

Union denies an employee’s written request to undertake a wage

and hour grievance. Upon such a denial, paragraph 4 provides the

employee a right to pursue his or her individual grievance

through the mediation and arbitration procedures of the ADR

Provision and to present his or her individual claim at

arbitration, with or without counsel.   Obviously, the Union has

filed a grievance covering the entire class of individual

claims, including Pena’s pending claim. In these circumstances,

Paragraph 4 is not triggered.

    To the extent Pena and Wittels Law P.C. assert a right to

opt out of the Union’s class grievance and pursue arbitration of


                                43
claims through their chosen counsel, and claim certain

procedures are required for an Award on the merits to be

binding, I find those assertions are beyond the scope of the

three (3) issues presented for my determination at this time.

However, in deciding this matter on the merits, I may give

consideration to a special procedure permitting written

documentation by certain individual employees who assert their

circumstances are unique and not reflective of a determination

covering all of the employees represented by the Union. The

process I will follow during the proceeding on the merits will

assure the notice and due process rights of all current and

former employees shall be addressed.

     Finally, this arbitration proceeding shall not be binding

upon those individual Plaintiffs whose claims have been held not

subject to arbitration by state or federal court(s). These are

the four (4) Plaintiffs identified by the Union as referenced in

footnote no. 2, supra, as well as Maral Aguranova, Epifania

Hichez, Carmen Carrasco and Seferina Acosta.18




18Aguranova is the Plaintiff in Aguranova v. The Stella Orton
Home Care Agency, Inc., supra, whose claim was held not subject
to arbitration by the federal court as indicated in the Summary
Order of the Second Circuit, dated February 24, 2020. Hichez,
Carrasco and Acosta are the Plaintiffs in Hichez v.United Jewish
Council of the East Side, Home Attendant Corp., supra, whose
claims were held not subject to arbitration as set forth in the
Order of the Appellate Division, First Department, dated January
23, 2020.


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    In all, the preliminary issues presented for my

determination are decided as follows:

    1.   The claims encompassed by the wage and hour related

grievances involving current and former 1199 bargaining

unit members, including those arising under federal, state

and local law, are arbitrable.

    2.   I have jurisdiction to adjudicate the

claims asserted in the wage and hour grievances, arising under

federal, state and local law, filed by the parties

to the Collective Bargaining Agreement which encompass all

claims arising under the federal, state and local laws named in

the Agreement, as well as any pending litigation or

administrative actions on the identical claims, irrespective of

whether employees’ employment terminated prior to the effective

date of the Memorandum of Agreement providing Alternative

Dispute Resolution language for exclusive mediation/arbitration

procedures for wage and hour disputes pursuant to the

Agreement between the parties.

    3. I shall appoint a Plaintiffs’ Coordinating Counsel under

the condition that he or she a) will not be co-counsel with the

Union, b) will consult with the Union at such times and on such

issues as the Union deems appropriate, c) will be the Union’s

primary contact for communication with private Plaintiffs’

counsel, d) will be allowed to attend in – person proceedings


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conducted before me, (e) will have a limited right to make

presentation(s) at in – person proceedings, if any, conducted

before me as may be consented to by the Union, subject to

Employers’ objections, (f) will have no independent right to

examine particular witnesses or introduce evidence, but may ask

the Union to consider Coordinating Counsel’s request(s) to do

so, subject to Employers’ objections, (g) shall have no formal

authority to initiate, coordinate or conduct pre – hearing

discovery or any right to negotiate stipulations, settlements or

other matters with either the Union or the Employers and, (h)

shall have the right to make written submissions on behalf of

individual Plaintiffs they actually represent. These roles will

be subject to revision or restriction by me upon application, or

sua sponte.

    4.   Wittels Law P.C. shall be designated as Plaintiffs’

Coordinating Counsel under the foregoing conditions.

    5.   This Award shall not be binding upon the following

individuals in light of Court rulings holding their wage and

hour claims not subject to arbitration: Alvaro Ramirez Guzman,

Elida Agustina Mejia Herrera, Leticia Panama Rivas, Boris

Pustilnik, Maral Agarunova, Epifania Hichez, Carmen Carrasco and

Seferina Acosta.

    6.   My office shall arrange arbitration of these claims on

the merits.


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                         AWARD

1.   The claims encompassed by the wage and hour related
     grievances involving current and former 1199
     bargaining unit members, including those arising under
     federal, state and local law, are arbitrable.

2.   I have jurisdiction to adjudicate the
     claims asserted in the wage and hour grievances,
     arising under federal, state and local law, filed by
     the parties to the Collective Bargaining Agreement
     which encompass all claims arising under
     the federal, state and local laws named in the
     Agreement, as well as any pending litigation or
     administrative actions on the identical claims,
     irrespective of whether employees’ employment
     terminated prior to the effective date of the
     Memorandum of Agreement providing Alternative Dispute
     Resolution language for exclusive
     mediation/arbitration procedures for wage and hour
     disputes pursuant to the Agreement between the
     parties.

3.   I shall appoint a Plaintiffs’ Coordinating Counsel
     under the condition that he or she a) will not be co-
     counsel with the Union, b) will consult with the Union
     at such times and on such issues as the Union deems
     appropriate, c) will be the Union’s primary contact
     for communication with private Plaintiffs’ counsel, d)
     will be allowed to attend in – person proceedings
     conducted before me, (e) will have a limited right to
     make presentation(s) at in – person proceedings, if
     any, conducted before me as may be consented to by the
     Union, subject to Employers’ objections, (f) will have
     no independent right to examine particular witnesses
     or introduce evidence, but may ask the Union to
     consider Coordinating Counsel’s request(s) to do so,
     subject to Employers’ objections, (g) shall have no
     formal authority to initiate, coordinate or conduct
     pre – hearing discovery or any right to negotiate
     stipulations, settlements or other matters with either
     the Union or the Employers and, (h) shall have the
     right to make written submissions on behalf of
     individual Plaintiffs they actually represent. These




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                                       roles will be subject to revision or restriction
                                       by me upon application, or sua sponte.19

                   4.                  Wittels Law P.C. is designated Plaintiffs’
                                       Coordinating Counsel in this proceeding, under the
                                       foregoing conditions.

                   5.                  This Award shall not be binding upon the following
                                       individuals in light of Court rulings holding their
                                       wage and hour claims not subject to arbitration:
                                       Alvaro Ramirez Guzman, Elida Agustina Mejia Herrera,
                                       Leticia Panama Rivas, Boris Pustilnik, Maral
                                       Agarunova, Epifania Hichez, Carmen Carrasco and
                                       Seferina Acosta.

                   6.                  My office will contact the parties to arrange
                                       arbitration of this matter on the merits, subject to
                                       the limitations set forth in numbers 3, 4 and 5 of
                                       this Award.


April 17, 2020.                                              _________________________
                                                             Martin F. Scheinman, Esq.
                                                             Arbitrator


STATE OF NEW YORK                                      )
                                                       )   ss.:
COUNTY OF NASSAU                                       )


                   I, MARTIN F. SCHEINMAN, ESQ., do hereby affirm upon my oath

as Arbitrator that I am the individual described herein and who

executed this instrument, which is my Award.


April 17, 2020.
                                                             Martin F. Scheinman, Esq.
                                                             Arbitrator
Home Health Agencies.1199.class action grievance.awd




19 To the extent documents are produced and Plaintiffs’ counsel
want to examine them, if relevant, documents from an individual
employer shall be made available only to a Plaintiff’s counsel
with a pending matter with that Employer.


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